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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

BRAD BAUMAN, )

Plaintiff, §

v. § Civil Case No. 18-01191 (RJL)
EDWARD BUTOWSKY, et al. §

Defendants. § F I L E D

MAR ?. § ZGYQ

MEMO NDUM OPINION Clerk. U.S. District & Bzznl<ruptcy
(March ’ 2019) [Dkt. ## 12’ 14] Cnurts further Dést.'ictotCo!umbia

Brad Bauman (“Bauman” or “plaintiff’) brought this tort action for defamation,
defamation per se, false light, and publication of private facts against defendants Edward
Butowsky (“Butowsky”), Howard Gary Heavin (“Heavin”), Matthew Couch, and Couch’s
company America First Media (“AFl\/l”). Pending before me are Butowsky’s and Heavin’s
separate motions to dismiss the claims against them under Federal Rules of Civil Procedure
lZ(b)(Z) for lack of personal jurisdiction and lZ(b)(6) for failure to state a claim. Upon
consideration of the pleadings and the relevant law, and for the reasons stated below,
Heavin’s 12(b)(2) motion to dismiss and Butowsky’s lZ(b)(6) motion to dismiss are

GRANTED, and this case is DISMISSED as to those defendantsl

 

l As neither Couch nor AFM properly filed any motions to dismiss in this matter,
this Memorandum Opinion does not affect Bauman’s claims against those defendants

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BACKGROUND

Seth Rich, a Democratic National Committee (“DNC”) staffer, was murdered in
Washington, D.C. in the early morning of July lO, 2016. Compl. at ll 26 [Dkt. # l]. Soon
after the murder, Bauman, a D.C. resident and public relations and communications
consultant, see id. at M 14, 22, 51, was referred to the Rich family by friends of Seth Rich
and volunteered to act as the family’s spokesperson, id. at T 27. To this day, Seth Rich’s
murder remains unsolved, but D.C. law enforcement officials have stated their belief that
he was killed during a botched robbery. Ia’. at M 2, 29. Nevertheless, the murder spawned
a number of conspiracy theories aiming to connect Seth Rich’s death to the hack and leak
of DNC emails to Wikileaks during the run-up to the 2016 presidential election. Id. at jill 2.
Indeed, on August lO, 2016, Wikileaks released a statement addressing, if not inflaming,
these conspiracy theories, noting that its policy of neither confirming nor denying its
sources should not be inferred to suggest that Seth Rich was a Wikileaks source or that his
murder was connected to Wikileaks’ activities. Id. at W 3, 32.

Months later, in early 2017, defendant Butowsky, a Texas resident and businessman
and cable news commentator, id. at M 15, 40, contacted the Rich family and offered to hire
and pay a private investigator to investigate Seth Rich’s murder, id. at il 30. The family
apparently agreed, and Butowsky hired former D.C. police investigator (and fellow cable
news commentator) Rod Wheeler. Ia’. at 11 lO. At the same time, Butowsky allegedly was
pressing Fox News to report on supposed evidence linking Seth Rich to Wikileaks and the
leaked DNC emails. Id. at W 3l, 50. Fox News ultimately ran such a story on May 16,

2017, entitled “Slain DNC staffer had contact with Wikileaks, investigator Says.” ]a’. at 1[

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33. According to the article, Wheeler believed that the D.C. police were covering up the
true circumstances of the murder. Ia’. at ll 35. Wheeler immediately denied the attribution
in the Fox News article and publicly stated that he did not personally have evidence of a
cover up. Id. at llll 37-38. ln response, Bauman released a statement on the Rich family’s
behalf denying any link between Seth Rich and Wikileaks and condemning as politically
motivated the conspiracy theories suggesting the same. Id. at ll 40. On May 23, 2017 , F ox
News retracted its reporting about a Seth Rich murder coverup. Id. at llll 43-44.

Over the ensuing months, Butowsky allegedly made a series of public statements
about Bauman’s role in the controversy surrounding Seth Rich’s murder. For example, on
the same day that Fox News retracted its article, Butowsky stated in an online World Net
Daily interview that the DNC “assigned” Bauman to act as the Rich family spokesman,
that Bauman was a “Democrat crisis management person,” and that he “fmds Bauman’s
involvement with the family extremely suspicious.” Ia’. at ll 53. A few days later,
Butowsky gave an interview to New York Magazine’s Daily lntelligencer, during which
he observed that “it seemed like Bauman’s job is just to discredit and try to go after people.”
Id. at ll 56. And on August 2, 2017, Butowsky told CNN that “Bauman is simply a hired
guy who will say anything” and that he “should apologize to the country for crafting a lie.”
Ia’. at ll 74.

Like Butowsky, defendant Heavin, a fellow Texas resident and frequent news
commentator, id. at ll 18, made public statements about Bauman’s involvement in the Seth
Rich matter. On May 28, 2017, Heavin appeared on a radio program and claimed that

Bauman is a “DNC cleaner” brought in to “propagandize” and who “would lie, cheat, and

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steal to . . . avoid the truth.” Id. at ll 57. A month later, Heavin appeared on InfoWars’ The
Alex Jones Show and accused Bauman of being “a Democratic hitman” who “cover[s] up
media issues around the Democratic Party” and stated that Bauman’s involvement was
“very very suspicious.” Id. at llll 61-62. InfoWars aired the episode online and on social
media and radio platforms. Id. at llll 66~69.

On May 21, 2018, Bauman sued, inter alia, Butowsky and Heavin for defamation,
defamation per se, and false light. Id. at llll 128~55. Bauman alleges that Butowsky’s and
Heavin’s statements about his involvement in the Seth Rich matter are false and have
harmed his professional reputation and his physical and emotional health. Ia’. On June 15
and 19, 2018, respectively, Butowsky and Heavin moved separately to dismiss Bauman’s
claims for lack of personal jurisdiction under Rule 12(b)(2) and failure to state a claim
under Rule 12(b)(6). [Dkt. ## 12, 14].

LEGAL STANDARD

To survive a Rule 12(b)(2) motion to dismiss for lack of personal jurisdiction, a
plaintiff must make a prima facie showing of the factual basis for asserting personal
jurisdiction over a defendant See Crane v. N. Y. Zoologz`cal Soc ’y, 894 F.2d 454, 456 (D.C.
Cir. 1990); Mwani v. bin Laden, 417 F.3d 1, 7 (D.C. Cir. 2005). To make such a showing,
the plaintiff “must allege specific acts connecting [the] defendant with the forum”; it is not
enough to rely on bare allegations or conclusory statements Second Amendment Founa’.
v. U.S. Conference of Mayors, 274 F.3d 521, 524 (D.C. Cir. 2001) (internal quotation marks
omitted). That does not mean that the plaintiff is “required to adduce evidence that meets

the standards of admissibility reserved for summary judgment and trial.” Urban Inst. v.

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FINCON Servs., 681 F.Supp.2d 41, 44 (D.D.C. 2010). The plaintiffis permitted to rely on
“arguments on the pleadings, ‘bolstered by such affidavits and other written materials as
lthe plaintiff] can otherwise obtain.”’ Ia’. (quoting Mwam', 417 F.3d at 7).

A Rule 12(b)(6) motion “tests the legal sufficiency of a complaint.” Brownz'ng v.
Clz`nlon, 292 F.3d 235, 242 (D.C. Cir. 2002). To survive a motion to dismiss, a complaint
“must contain sufficient factual matter, accepted as true, to state a claim to relief that is
plausible on its face.” Ashcrofr v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks
omitted). A claim is facially plausible when the complaint allegations allow the Court to
“draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ia’.
Although the standard does not amount to a “probability requirement,” it does require more
than a “sheer possibility that a defendant has acted unlawfully.” Id. “Threadbare recitals
of the elements of a cause of action, supported by mere conclusory statements,” are not
sufficient to state a claim. Ia’. In resolving a Rule 12(b)(6) motion, the Court “assumes the
truth of all well-pleaded factual allegations in the complaint and construes reasonable
inferences from those allegations in the plaintiffs favor[.]” Sz`ssel v. U.S. Dep ’t of Health
& Human Servs., 760 F.3d 1, 4 (D.C. Cir. 2014). ln addition to the complaint’s factual
allegations, the Court may consider “documents attached to or incorporated in the
complaint, matters of which courts may take judicial notice, and documents appended to a
motion to dismiss whose authenticity is not disputed, if they are referred to in the complaint
and integral to a claim.” Harris v. Amalgamated Transit Unz`on Local 689, 825 F.Supp.2d

82, 85 (D.D.c. 201 i).

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ANALYSIS
I. Defendant Howard Gary Heavin

Heavin first claims that Bauman has not alleged sufficient facts to show that the
Court can assert personal jurisdiction over him. As Heavin is a non-resident defendant, the
existence vel non of personal jurisdiction is governed by a familiar two-part framework,
under which l must determine (1) whether Bauman has satisfied the District’s long-arm
statute, D.C. Code § 13-423, and (2) if he has, whether the exercise of jurisdiction would
comport with constitutional due process See Forras v. Rauf, 812 F.3d 1102, 1106 (D.C.
Cir. 2016); Kopjj‘v. Bartagli`a, 425 F.Supp.2d 76, 81 (D.D.C. 2006). As set forth below,
Bauman has not satisfied the D.C. long-arm statute, and l therefore need not reach the
constitutional portion of the analysis

While D.C.’s long-arm statute enumerates over a half-dozen bases for the exercise
of personal jurisdiction, see D.C. Code § l3-423(a), as to Heavin plaintiff contends that
personal jurisdiction exists only under § 13-423(a)(4), Compl. ll 24; Pl.’s Opp’n to Def.
Heavin’s Mot. to Dismiss at 6~18 [Dkt. # 24]. That provision confers personal jurisdiction
over persons who commit tortious acts outside of D.C. that cause injury in the District “if,
and only if, the defendant ‘regularly does or solicits business, engages in any other
persistent course of conduct, or derives substantial revenue from [goods used or consumed,
or] services rendered’ in the District.” Forras, 812 F.3d at 1107 (quoting D.C. Code § 13-
423(a)(4)). Section (a)(4) does not reach to the limits of the Constitution’s Due Process
Clause: “the District government has made a deliberate decision not to allow access to

D.C. courts to every person who is injured here and otherwise could bring a claim for civil

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redress.” Kopjj‘, 425 F.Supp.2d at 82; see also Crane v. Carr, 814 F.2d 758, 762 (D.C. Cir.
1987) (section (a)(4) does “not occupy all of the constitutionally available space”). lnstead,
in addition to injury within the District, D.C.’s long-arm statute requires what courts refer
to as a “plus factor”-*i.e., the tortfeasor regularly does business or engages in persistent
conduct in, or derives substantial revenue from, the District.

According to Bauman, Heavin’s “plus factor” is his alleged persistent course of D.C.
conduct, which is shown by Heavin: (1) “broadcast[ing] his defamatory statements via
websites that were directed at D.C. and could interact with its residents”; (2) holding a
leadership position in a company called Curves North America, which Heavin founded and
which maintains “an active corporate registration in D.C.” but no operating franchises; (3)
traveling to D.C. for President Donald Trump’s inauguration and perhaps also on one other
occasion; (4) causing a 2012 corporate donation by Curves International--the parent
company of Curves North America_to American Crossroads, a D.C.-based political
action committee, and personally contributing to other D.C.-based political organizations;
(5) “routinely promot[ing] his status as a ‘mover-and-shaker”’ who is in regular
communication with Senator Rand Paul of Kentucky; (6) claiming to be under
consideration to be U.S. Ambassador to Haiti and otherwise attempting to obtain a political
appointment to federal office; (7) producing and acting in a film that concerns the federal
government and maintains social media accounts that on two occasions have trained their
ire on nationally prominent political figures; and (8) speaking at a conference held in
Maryland by a D.C.-based political organization See Pl.’s Opp’n to Def. Heavin’s l\/lot.

to Dismiss at 10-16.

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Unfortunately for plaintiff, the foregoing patchwork of purported D.C. conduct does
not satisfy § (a)(4) of the D.C. long-arm statute. How so? As a threshold matter, many of
Heavin’s supposed contacts with the District are immaterial to the personal jurisdiction
analysis There is, for example, no “neighboring forum” exception permitting me to
consider Heavin’s Maryland contacts in determining his amenability to suit in D.C. There
is also no support for the proposition that merely speaking about a forum (or about entities
within that forum)-e.g., producing a film about or seeking employment with the federal
government, discussing one’s relationships with federal government officials_can confer
specific jurisdiction in the absence of identifiable forum contacts2 This dearth of legal
foundation might explain why Bauman posits these contacts as analytically relevant
without citation to legal authority. See Pl.’s Opp’n to Def. Heavin’s Mot. to Dismiss at 13-
16.

Bauman does allege, however, contacts bearing at least a facial nexus to the District,
but most of these allegations are also flawed For example, Bauman points to Heavin’s
“broadcast [of] his lallegedly] defamatory statements via websites” that reach a D.C.
audience. Ia'. at 10. However, even putting aside the undisputed facts that Heavin neither
made these statements “in the District of Columbia” as required for a § (a)(4) plus factor
nor was responsible for the publication ofthe statements online, see id.; Reply in Supp. of

Def. Heavin’s Mot. to Dismiss at 2~3 [Dkt. # 30], the conduct that gives rise to a plaintiffs

 

2 lt bears mention on this point that “[c]ourts have also generally held that a
defendant’s contacts with the United States government do not factor into the personal
jurisdiction analysis.” Lewy v. Southern Poverly Law Ctr., Inc., 723 F.Supp.2d 116, 125
(D.D.C. 2010).

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claims cannot itself confer personal jurisdiction by also comprising persistent conduct
under § (a)(4). Rather, a plus factor “must involve conduct ‘separate from and in addition
to the in-state injury”’ so as to avoid the exercise of jurisdiction over “an isolated event”
and a defendant who “otherwise has no, or scant, affiliations with the forum.” Kopjj‘, 425
F.Supp.2d at 82 (quoting Crane, 814 F.2d at 762-63); see also Betz v. Aia'nest, No. 18-cv-
0292, 2018 WL 5307375, at *7 (D.D.C. Oct. 26, 2018) (rejecting § (a)(4) jurisdiction in
Telephone Consumer Protection Act case where “[p]laintiff haldl not demonstrated
conduct outside the allegedly injurious phone calls”). For this reason, at least one of my
colleagues has held flatly that “[p]ublishing defamatory statements within the District that
were made outside the District does not meet the terms of § 13-423(a)(3) or (4).” Hoarani
v. Psyl)ersolutz'ons, LLC, 164 F.Supp.3d 128, 138 (D.D.C. 2016) (Collyer, J.); see also i`a’.
(“writing an article for a publication that is circulated throughout the nation, including the
District, hardly constitutes doing or soliciting business, or engaging in a persistent conduct,
within the District and thus does not satisfy the requirements of (a)(4)” (internal quotation
marks omitted)). Heavin’s allegedly defamatory statements thus are of no moment in my
§ (a)(4) analysis

Nor can I attribute Curves’ alleged corporate activities to Heavin personally for
purposes of the § (a)(4) inquiry. The “general rule” in our Circuit is that jurisdiction over
a corporation does not by itself confer jurisdiction over individual corporate officers
Mouzon v. Raclz'ancy, Inc., 85 F.Supp.3d 361, 371-72 (D.D.C. 2015). lnstead, “[p]ersonal
jurisdiction over officers of a corporation in their individual capacities must be based on

their personal contacts with the forum, not their acts and contacts carried out solely in a

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corporate capacity.” Overseas Partners, [nc. v. PROGEN Masavirlik ve Yonetim
Hizmetleri, Lia’. Sikerti, 15 F.Supp.2d 47, 51 (D.D.C. 1998). As such, l must assess
Heavin’s individual contacts with the District “based on his actions_separately from
[Curves’] contacts with the forum state.” Moazon, 85 F.Supp.3d at 372 (emphasis added);
see also Keeton v. Hustler Magazine, Inc.. 465 U.S. 770, 781 n.l3 (1984); cf IMARK Mktg.
Servs., LLC v. Geoplast S.p.A., 753 F.Supp.2d 141, 150 (D.D.C. 2010) (corporation’s
contacts with forum are not attributable to affiliated party for jurisdictional purposes unless
corporation and affiliated party are alter egos). Here, with one exception,3 Bauman does
not identify any actions taken by Heavin in his personal capacity that can or should be
considered separate from his company’s contacts with D.C., nor does Bauman allege that
Heavin and Curves are alter egos such that their forum contacts are coextensive Curves’
alleged contacts with the District therefore do not support the exertion of personal

jurisdiction over Heavin in this case.4

 

3 The exception is Heavin’s 2012 donation through Curves lnternational to
American Crossroads, a D.C.-based political action committee. Pl.’s Opp’n to Def.
Heavin’s Mot. to Dismiss at 13. But the donation, which was made from outside of the
District, cannot constitute persistent conduct in D.C., even when combined with Heavin’s
personal donations from outside of the District to D.C.-based political organizations See
icl. Donating to political organizations whose work is not “directed specifically at District
of Columbia residents” is not sufficient to “give rise to personal jurisdiction,” cf Citaclel
[nv. Grp., L.L.C. v. Citaclel Capiial Co., 699 F.Supp.2d 303, 310 (D.D.C. 2010)
(sponsoring a trade show whose targeted audience is national and whose D.C. location is
“fortuitous” does not create personaljurisdiction), and the conduct does not occur “in” the
District, see, e.g., Stoa'dard v. Carlin, 799 F.Supp.2d 57, 62 (D.D.C. 2011) (letters mailed
from l\/laryland not conduct in D.C.).

4 Bauman also contends that Heavin_through his ownership of Curves, which had
several franchises in D.C. between 2006 and 2011-derives “substantial revenue from
goods used or consumed, or services rendered, in the District of Columbia.” Pl.’s Opp’n
to Def. Heavin’s Mot. to Dismiss at 16. However, Bauman does not provide sufficient

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Accordingly, all that remains to sustain Heavin’s alleged “persistent course of
conduct” in the District are his (at most) two trips to D.C. and the D.C.-related activity of
his film’s social media accounts These allegations, however, are clearly not enough. As
to Heavin’s alleged visits to D.C.-neither of which relates to this case_there is ample
authority rejecting such limited and extraneous contacts under § (a)(4). See, e.g., Lewy v.
Soatlzern Poverty Law Clr., Inc., 723 F.Supp.2d 116, 124 (D.D.C. 2010) (“[o]ccasional
travel to the District is . . . insufficient” to establish a “persistent course of conduct”); Dean
v. Walker, 756 F.Supp.2d 100, 104 (D.D.C. 2010) (four-day personal trip and attendance
at two professional conferences insufficient under § (a)(4) because “none of these contacts
relate to the allegations contained in this lawsuit” and “such sporadic contact is simply
insufficient to establish a ‘regular’ or ‘persistent’ course of conduct in the District of
Columbia as required by § 13-423(a)(4)”); Urban lnst. v. FINCON Servs., 681 F.Supp.2d
41, 47-48 (D.D.C. 2010) (three trips to solicit business in D.C. did not create persistent
course of conduct under § l3-423(a)(4)).

The social media activity associated with Heavin’s film_also substantively
unrelated to this case-are an even weaker basis for long-arm jurisdiction, even assuming
they can be attributed to Heavin personally. As a general matter, “[t]he fact that a defendant

has directed his conduct toward the District of Columbia is insufficient to establish a

 

evidence of a common identity between Heavin and Curves such that any revenues from
the latter’s now-defunct franchises could be imputed to Heavin personally. See, e.g.,
Moazon v. Raa’iancy, lnc., 85 F.Supp.3d 361, 372~73 (D.D.C. 2015) (refusing to impute
company’s D.C. revenue to CEO under § (a)(4)); Vasquez v. Whole Foocls Mkt., Inc., 302
F.Supp.3d 36, 49 (D.D.C. 2018) (company’s D.C. revenue not attributable to company’s
vice president for communications).

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‘persistent course of conduct’ in the District.” Lewy, 723 F.Supp.2d at 124; see GTE News
Mea’ia Services, Inc. v. BellSoutlz Corp., 199 F.3d 1343, 1349-50 (D.C. Cir. 2000) (“mere
receipt of telephone calls outside the District does not constitute persistent conduct ‘in the
District’ within the meaning of the long-arm statute”). AS to online activity in particular,
“[w]hether a website provides sufficient contacts for a court to exercise jurisdiction often
turns on whether the website is ‘passive,’ such as the mere communicator of information,
or ‘interactive,’ such as allowing for some back-and-forth with the user.” 12 Percent
Logistics, Inc. v. Uni]’iea’ Carrier Registration Plan Boara’, 282 F.Supp.3d 190, 201
(D.D.C. 2017). Although a sufficiently interactive website may in some cases be enough,
see Lewy, 723 F.Supp.2d at 124-25, at least one judge on this Court has rejected that notion
as applied to social media accounts, Sweetgreen, ]nc. v. SweetLeaf lnc., 882 F.Supp.2d l,
5 (D.D.C. 2012) (Bates, J.) (holding that Facebook and Twitter are “passive websites” and
defendants’ accounts, while interactive, do not alone confer jurisdiction); see also Binion
v. O'Neal, 95 F.Supp.3d 1055, 1060 (E.D. Mich. 2015) (“posts on Instagram and Twitter
were little more than the posting of information on social media websites, which became
accessible to users in l\/Iichigan and elsewhere”). And here, Bauman faces an additional
hurdle: the social media communications on which he relies were directed at nationally
prominent political figures (one of whom was a private citizen and the other a
representative of the State of Vermont) and did not concern the District. lt is difficult to
see how those communications could constitute persistent conduct in D.C. under the long-
arm statute. Co)npare Betz, 2018 WL 5307375, at *7 (“The screenshots of Defendant’s

website, Facebook page, and Twitter account provided by Plaintiff do not suggest that

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Defendant directly targets consumers in the District of Columbia any more than it directly
targets consumers in other states.”), with District Title v. Warren, No. 14-1808, 2015 WL
12964657, at *8 n.4 (D.D.C. June 1, 2015) (section (a)(4) plus factor satisfied where,
among many other contacts, defendant Day had run for local office and “communicate[d]
via Twitter under the name ‘@Tim_Day_DC”’).

Bauman’s claims against defendant Heavin are therefore dismissed for lack of
personal jurisdiction5

II. Defendant Edward Butowsky

Unlike Heavin, the pleadings contain sufficient contacts between Butowsky and the
District to justify exerting personal jurisdiction over him in this case. l will therefore turn
to Butowsky’s l2(b)(6) motion to dismiss for failure to state a claim.

a. Defamation

Under D.C. law, a defamation plaintiff must allege “(1) that the defendant made a
false and defamatory statement concerning the plaintiff; (2) that the defendant published
the statement without privilege to a third party; (3) that the defendant’s fault in publishing
the statement amounted to at least negligence; and (4) either that the statement was
actionable as a matter of law irrespective of special harm or that its publication caused the
plaintiff special harm.” Rosen v. American Israel Pal)lic ij‘airs Coni)n., Inc., 41 A.3d

1250, 1255_56 (D.C. 2012).

 

5 Heavin’s motion to dismiss also includes a motion for attomey’s fees under the
D.C. Anti-SLAPP Act. See [Dkt. # 14]. lt is well established, however, that the D.C. Anti-
SLAPP law does not apply in federal court. See, e.g., Fria'man v. Bean LLC, No. 17-2041,
2019 WL 231751, at *2 (D.D.C. Jan. 15, 2019) (slip copy) (collecting cases).

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According to the complaint, in a series of interviews between May and August 2017,
Butowsky (1) accused Bauman of being a “Democrat crisis management person”
“assigned” by the DNC to act as the Rich family spokesperson, Compl. at ll 53; (2) said he
finds Bauman’s involvement extremely suspicious ia’i; (3) stated that “it seemed like”
Bauman’s “job is just to discredit and try to go after people” ia’. at ll 56; and (4) called
Bauman “a hired guy who will say anything” and who “should apologize to the country for
crafting a lie,” ia’. at ll 74.6 For varying reasons, each of these statements fails to support a
cognizable defamation claim.

lt is well established, if deceivingly simplistic, that an actionable statement must be
“false as well as defamatory.” Rosen, 41 A.3d at 1256 (internal quotation marks omitted).
ln other words, the statements at issue must be both “verifiable” as false “and reasonably
capable of defamatory meaning.” Weyrich v. New Repul)lic, lnc., 235 F.3d 617, 620 (D.C.
Cir. 2001). Although this formulation seems straightforward enough as a matter of
common law (and common sense), our Constitution’s robust protection of free speech has
a way of complicating legal analyses And “defamation is inextricably linked with First
Amendment concerns.” Lane v. Randorn House, [nc., 985 F.Supp. 141, 149 (D.D.C. 1995).
“Because the First Amendment protects speech as an expression of the fundamental right

to freedom of thought, constitutionally speaking, ‘there is no such thing as a false idea.”’

 

6 The complaint allegations often fail to distinguish between the various defendants
in setting out the bases for Bauman’s defamation claims The above-enumerated
statements are those that are both identified by Bauman as defamatory and also fairly
attributable to Butowsky individually Cf. Compl. at ll 56, 129. lt is not clear to what
Bauman refers in alleging that “e.g., Butowsky” told the Rich family “to push back against
the criminal investigation to cover up the murder of Seth Rich.” Id. at ll 129(d).

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Co)npetitive Enterprise Institute v. Mann, 150 A.3d 1213, 1241 (D.C. 2016) (quoting
Milkovich v. Lorain Journal Co., 497 U.S. 1, 18 (1990). Accordingly, expressions of “a
subjective view, an interpretation, a theory, conjecture, or surmise” are not provably false
and thus cannot undergird a claim of defamation. Gailforcl Transp. Ina’us., Inc. v. Wilner,
760 A.2d 580, 597 (D.C. 2000). ln the same way, statements that amount to “imaginative
expression” or “rhetorical hyperbole” cannot be libelous, as such statements are “used not
to implicate underlying acts but ‘merely in a loose, figurative sense’ to demonstrate strong
disagreement” with another. Sigal Const. Corp. v. Stanl)ury, 586 A.2d 1204, 1210-11
(D.C. 1991). Still, in some cases an expression of opinion can be actionable ifit “impl[ies]
a provably false fact, or rel[ies] upon stated facts that are provably false.” Gailfora’ Transp.
Inclas., 760 A.2d at 597 . The determination of “[w]hether a statement ‘asserts actionable
facts or implies such facts is a question of law for the court to determine as a threshold
matter.”’ Montgomery v. Risen, 197 F.Supp.3d 219, 247~48 (D.D.C. 2016) (quoting
Mola’ea v. N.Y. Times Co., 15 F.3d 1137, 1144 (D.C. Cir. 1994) (“Mola’ea 1”)).

How, then, is a court to distinguish between the sufficiently fact-entwined opinion
and the opinion that is not susceptible to proof'? To say the least, “[t]he line between fact
and opinion is not always bright,” Ar)nstrong v. Thoinpson, 80 A.3d 177, 187 (D.C. 2013),
and statements tend not to fit “neatly into categories of ‘verifiable’ and ‘unverifiable”’ but
rather exist on “a spectrum with respect to the degree to which they can be verified.”
Ollman v. Evans, 750 F.2d 970, 982 (D.C. Cir. 1984). Even so, the answer, quite often,
“depends on the context of the statement in question.” See, e.g., Competitive Enterprise,

150 A.3d at 1241.

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Butowsky’s May 23, 2017 comment that “he finds Bauman’s involvement with the
[Rich] family extremely suspicious,” Compl. at ll 53, is an expression of opinion that cannot
support a claim of defamation To begin, “the inclusion of cautionary language” in the
form of the word “finds" weighs in favor of “treating the statement that follows as an
expression of opinion.” Q Intern. Coarier, Inc. v. Seagraves, No. 95-1554, 1999 WL
1027034, at *6 (D.D.C. Feb. 26, 1999). More importantly, the statement lacks provability.
ln Armstrong, the D.C. Court of Appeals held that statements suggesting the plaintiff
engaged in “serious integrity violations” and other “serious issues of misconduct . . . and
unethical behavior” were unverifiable opinions that simply “reflected one person’s
subjective view ofthe underlying conduct.” 80 A.3d at 187-88. ln Rosen, the same court
held that a statement that the plaintiffs conduct “did not comport with the standards that
AlPAC expects of its employees” was not provably false because “standards” is “a general
term capable of multiple meanings” and “communicates no specific message about a
discernible fact to an uniformed hearer.” 41 A.3d at 1258; see also Deripaska v. Associatea’
Press, 282 F.Supp.3d 133, 147 (D.D.C. 2017) (“whether Deripaska’s business deals are
worth investigating is not a verifiable statement of fact”); Clemmons v. Acaa’emy for
Ea’ucational Developrnent, 70 F.Supp.3d 282, 308 (D.D.C. 2014) (statement that plaintiffs
leadership resulted in “management problems” was unverifiable opinion); Xereas v. Heiss,
933 F.Supp.2d 1, 18 (D.D.C. 2013) (statements that plaintiff engaged in “dishonest” and
“deceptive” business practices were not provably false). So too here, Butowsky’s personal

belief that Bauman’s role in the Seth Rich matter deserved serious scrutiny_the basis for

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which was disclosed by Butowsky in the same article, Compl. at ll 537_cannot be proven
false and therefore is not actionable.

Butowsky’s remark in the May 28, 2017 Daily lntelligencer article that “it seemed”
to him that Bauman’s “job is just to discredit and try to go after people,” ia’. at ll 56, and
his August 2, 2017 comment to CNN that Bauman “will say anything,” id. at ll 74, are
similarly subjective and unverifiable. As an initial matter, Butowsky clearly did not mean
that Bauman would “go after people” in the literal, physical sense of the phrase. See Wood
v. American Fea’eration ofGovernment E)nployees, 316 F.Supp.3d 475, 488 (D.D.C. 2018)
(statement that plaintiff was a “gang member” was hyperbole that “would not reasonably
be understood in context as being fully and literally true”).

What Butowsky did mean, however, is not clear, and that is a problem for Bauman
“[U]nder District of Columbia law, opinion statements that lend themselves to varying
interpretations are insufficient for a defamation claim because they cannot be proved
‘false.”’ Clemmons, 70 F.Supp.3d at 308. Butowsky’s “discredit” and “say anything”
statements lend themselves to a variety of understandings To start, asserting that someone
“will say anything” is simply “too amorphous” and “susceptible of multiple

interpretations” to be capable of verification See Rosen, 41 A.3d at 1260. As to the

 

7 See, e.g., Aa’elson v. Harris, 973 F.Supp.2d 467, 490 (S.D.N.Y. 2013) (when a
defendant provides the facts underlying the challenged statements, it is “clear that the
challenged statements represent his own interpretation of those facts,” which “leav[es] the
reader free to draw his own conclusions” (citing Mola’ea v. New York Times Co., 22 F.3d
310, 317 (D.C. Cir. 1994) (“Mola’ea l[”) (internal quotation marks omitted)); Q Intern.
Courier, Inc., 1999 WL 1027034, at *6 (same).

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“discredit” remark, the prefatory “it seemed” language itself suggests a degree of
uncertainty. See QIntern. Courier, Inc. v. Seagraves, 1999 WL 1027034, at *6. Moreover,
although “discredit” can mean to harm an otherwise good reputation unfairly, it can also
mean simply “to cause disbelief in the accuracy or authority of.” Discrea’it, Merriam-
Webster Online Dictionary, https://www.merriam-webster.com/dictionary/discredit (last
visited l\/larch 27, 2019). The former definition might lend itselfto proof, i.e., it could be
verified whether Bauman’s job as spokesman was, in fact, to discredit people
indiscriminately However, as discussed inja, the latter interpretation would not be
actionable under the circumstances of this case. ln any event, these indistinctions render
Butowsky’s statements incapable of being proven false. See, e.g., McCabe v. Rattiner, 814
F.2d 839, 842 (1st Cir. 1987) (“The lack of precision [in the meaning of the word ‘scam’]
makes the assertion ‘X is a scam’ incapable of being proven true or false.”); Aa’elson v.
Harri's, 973 F.Supp.2d 467, 491 (S.D.N.Y. 2013) (“an assertion that certain money is
‘tainted’ or ‘dirty’ carries a strongly negative connotation, but, without context, one could
not say what specifically these adjectives connote”).8

While the “discredit” and “say anything” statements are fatally equivocal as a matter

of defamation law, the context in which the statements were made is notable. As the

 

8 Related to the ambiguity problem is the fact that the statements “do not
affirmatively provide a factual foundation” against which their truth or falsity can be
assessed See Xereas v. Heiss, 933 F.Supp.2d 1, 18 (D.D.C. 2013). Perhaps “certain events
could have formed the basis for the statements,” but “no one learned of particular incidents
from the words used,” and the statements “exuded merely a subjective evaluation_
essentially a statement of opinion without an explicit or implicit factual foundation.” ]a’.;
see also Clem)nons, 70 F.Supp.3d at 308 (defendant “did not reference specific underlying
incidents that could be ‘proven or disproven’ in connection with [her] opinion statement”).

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complaint makes clear, Bauman was serving as the Rich family spokesman, see, e.g.,
Compl. at ll 1, 6, 13_that is, Bauman was “speak[ing] as the representative of another or
others . . . in a professional capacity,” Spokesman, Merriam-Webster Online Dictionary,
https://www.merriam-webster.com/dictionary/spokesman (last visited l\/larch 27, 2019).
ln that light, Butowsky’s statements effectively conveyed his view that Bauman was not
serving as a neutral purveyor of fact but instead was acting to quell the questions and debate
surrounding Seth Rich’s death. Reasonable consumers of political news and commentary
understand that spokespeople are frequently (and often accurately) accused of putting a
spin or gloss on the facts or taking an unnecessarily hostile stance toward the media or
others, presumably in order to best represent their clients And on hot-button issues of the
day, spokespeople often become lightning rods themselves for such criticism.

ln context, then, Butowsky’s “discredit” and “say anything” statements simply
reflect an oft-expressed opinion that a spokesperson on this or that side of a topical debate
or controversy has gone too far. See Washington v. Smith, 893 F.Supp. 60, 64 (D.D.C.
1995) (“readers of a sports preview magazine understand that a considerable portion of the
magazine’s content is subjective opinion,” and the statement contained therein “must be
viewed in this context”). l\/loreover, the excerpted articles containing the two statements
show that Butowsky was quoted in direct response to Bauman’s public denial of
Butowsky’s allegations and his suggestion that Butowsky had wronged the Rich family.
Compl. at ll 56, 74. Given the controversy surrounding the murder (much of it created by
Butowsky himself`), it may well have been accurate to say that Bauman’s job, at least in

part, was to say whatever necessary on behalf of the Rich family to “cause disbelief in the

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accuracy or authority of’ Butowsky’s and others’ allegations See Discrea’it, Merriam-
Webster Online Dictionary. As such, the statements are not provably false.

Butowsky’s August 2, 2017 statement to CNN that Bauman “should apologize to
the country for crafting a lie,” Compl. at ll 74, is, however, a closer call. “As explained by
the Supreme Court, a statement such as ‘l think l ones lied’ can be false” if l ones in fact
did not lie or the speaker did not truly believe that l ones lied. Benic v. Reuters A)nerica,
Inc., 357 F.Supp.2d 216, 223 (D.D.C. 2004) (quoting Milkovich, 497 U.S. at 20 n.7). But,
“[o]f course, just stating that someone is ‘spreading lies’ or is a liar may not be actionable
as defamation.” Sinclair v. TubeSockTea’D, 596 F.Supp.2d 128, 133 (D.D.C. 2009); see
S)nith v. Clinton, 253 F.Supp.3d 222, 240-42 (D.D.C. 2017) (rejecting defamation claim
based on Secretary Clinton’s denial of plaintiffs accusation that she lied to them about
what caused the 2012 attack on the American diplomatic compound in Benghazi, Libya).

Here again, “[c]ontext is crucial,” as it “can turn what, out of context, appears to be
a statement of fact into ‘rhetorical hyperbole,’ which is not actionable.” Oll)nan, 750 F.2d
at 1000 (Bork, J., concurring); accord Coinpetitive Enterprise, 150 A.3d at 1241. As
discussed, Bauman was serving as a spokesman at the center of a heated public controversy
over the Seth Rich murder, and he and Butowsky were sparring in the mainstream and
fringe press from opposite sides of the fray. See CACI Premier Tech., Inc. v. Rhoales, 536
F.3d 280, 304 (4th Cir. 2008) (Duncan, J., concurring) (noting that in “[t]he medium of
talk radio,” “hyperbole and diatribe” are “preferred tools of discourse” and expression is
“not infrequently caustic and offensive”). Butowsky made the “crafting a lie” statement to

a cable news reporter in response to Bauman’s public criticism of him_during a live CNN

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interview_for failing to apologize to the Rich family and the public for continuing to stand
by the conspiracy theory. Compl. at ll 74 & n51. Two months earlier, Bauman had told
CNN that anyone continuing to stand by the conspiracy theories about Seth Rich’s death
has “a transparent political agenda or [is] a sociopath.” Ia’. at ll 6. Butowsky’s statement
thus was not a random affront on a private individual; it was the latest reprisal in a charged,
back-and-forth public exchange between Bauman and Butowsky over Butowsky’s role in
spreading a conspiracy theory about Seth Rich’s murder. ln Schnare v. Zicssow, 104
Fed.Appx. 847 (4th Cir. 2004), the defendant accused the plaintiff of making “an outright
lie” in response to the plaintiffs assertion that the defendant had acted unethically. Ia’. at
851. The Fourth Circuit held that the accusation of lying was not actionable because, in
context, the charge was a “vigorous and angry expression[] of disagreement.” Id.
Similarly, in Horsley v. Rivera, 292 F.3d 695 (11th Cir. 2002), the Eleventh Circuit held
that the defendant’s claim that the plaintiff was “an accomplice to homicide” was non-
actionable hyperbole because, inter alia, it was made during “an emotional debate
concerning emotionally-charged issues of significant public concern.” Ia'. at 701-02; see
also Faclge v. Penthoase Intern., Lta’., 840 F.2d 1012, 1017 (1st Cir. 1988) (“ln the charged
context of a debate over a matter of public concern, the reader will expect a certain amount
of hyperbole and loose characterization-in short, a certain amount of opinion.”).

Judge Lamberth’s decision in Lane v. Rana’o)n House, Inc. assuages any lingering
doubt about the “crafting a lie” statement ln that case, Lane sued a publishing company
for defamation for taking out advertisements in The New York Times for a book called

“Case Closed,” which purported to settle the longstanding controversy over who shot

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President lohn F. Kennedy by drawing the “inescapable conclusion” that Lee Harvey
Oswald had acted alone. Lane, 985 F.Supp. at 144. The advertisement included Lane’s
photograph_along with five other prominent Kennedy assassination theorists whose
views were contradicted by the new book_and the caption “GUILTY OF MlSLEADlNG
THE Al\/IERICAN PUBLIC.” Ia’. at 144_45. The Court held that the caption was non-
actionable hyperbole because it did not state any provably false facts Ia’. at 150. lnstead,
the statement was one of subjective belief that could not be verified (unless the Kennedy
assassination controversy itself were resolved). la’. at 150-51. The Court rejected Lane’s
argument that the publication had accused him of “public deceit” and “intellectual
dishonesty” and that such claims could be proven false by resort to evidence of Lane’s
personal veracity and integrity because again, Lane’s veracity (or lack thereof) was bound
up with the underlying unresolved controversy. Ia’. at 151.

While there is, of course, no real comparison to be made between the public debate
over the Kennedy assassination and Seth Rich’s murder, this case does share much with
Lane. Like the Kennedy assassination, the circumstances surrounding Seth Rich’s death
remain unresolved Compl. at llll 2, 29. Perhaps this would be a different case if the
murderer had been caught, tried, and convicted and the motive made public; the present
state of play, however, effectively precludes a factual determination as to the falsity of
Butowsky’s statement. See Carnpl)ell v. Citizensfor an Honest Gov ’t, Inc., 255 F.3d 560,
577 (8th Cir. 2001) (“[w]hile we are not aficionados of conspiracy theories, we suppose
that if [defendant’sl assertions are true, there would be inherent difficulties in verifying or

refuting such a claim”). To be sure, my decision in this case in no way condones

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Butowsky’s conduct. But our Circuit Court has said that “where the question of truth or
falsity is a close one, a court should err on the side of non-actionability.” Mola’ea 11, 22
F.3d at 317. l will heed that admonition

The remaining statements_that Bauman is a “Democrat crisis management person”
“assigned” by the DNC to act as the Rich Family spokesperson, Compl. at ll 53_are not
defamatory. To be defamatory, a statement must not only be capable of injuring the
plaintiff “in his trade, profession or community standing” but also goes beyond mere
offensiveness to “make the plaintiff appear odious, infamous, or ridiculous.” Coinpetitive
Enterprise, 150 A.3d at 1241 (internal quotation marks omitted). As with falsity, whether
a statement is capable of defamatory meaning is a threshold question of law for the Court.
Jankovic v. Int'l Crisis Grp., 494 F.3d 1080, 1091 (D.C. Cir. 2007). The pleadings in this
case make clear that Bauman is a public relations specialist, see Compl. at llll 14, 22, 51,
and Bauman does not appear to dispute that his work often relates to Democratic Party
causes see Def. Butowsky’s Mot. to Dismiss at 5_6 [Dkt. # 12]; Mem. in Supp. of Def.
Heavin’s Mot. to Dismiss at 1 [Dkt. # 14-1]; see generally Pl.’s Opp’n to Def. Heavin’s
Mot. to Dismiss; Pl.’s Opp’n to Def. Butowsky’s Mot. to Dismiss [Dkt. # 23]. Thus, an
accusation of being a “Democrat crisis management person” would hardly harm Bauman
professionally. lndeed, it could be easily viewed by many as a badge of honor. Nor would
the assertion that Bauman had been tasked by the DNC to handle communications on a
matter of public interest that had quickly become politicized make him appear odious.

Of course, defamatory meaning need not be express White v. Fraternal Ora’er of

Police, 909 F.2d 512, 518 (D.C. Cir. 1990). A statement may be defamatory by implication

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if “a reasonable person could draw a defamatory inference” from the statement. Parnigoni
v. St. Columl)a’s Nursery School, 681 F.Supp.2d 1, 15 (D.D.C. 2010). “ln other words,
defamation by implication evolves from what a statement reasonably implies” Ia’. Here,
the overarching defamatory inference that Bauman presents is that Butowsky’s statements
form part of a larger narrative accusing him of working alongside the DNC to conceal
criminality “at the highest echelons,” to cover up Seth Rich’s murder, and to impede law
enforcement’s investigation into the murder. Compl. at llll 4, 59, 75, 129. But defamation
by implication requires “an especially rigorous showing,” as the publication “must not only
be reasonably read to impart the false innuendo, but it must also affirmatively suggest that

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the author intends or endorses the inference. Guilfora’ Transportation Ina’ustries, Inc.,
760 A.2d at 596 (quoting Chapin v. Knight-Ridcler, 993 F.2d 1087, 1092-93 (4th Cir.
1993)). ln the article on which Bauman relies, Butowsky certainly states his opinion that
the DNC is engaged in nefarious activities, and he suggests that Bauman appeared at the
DNC’s behest and that his role is deserving of suspicion See Compl. at ‘l 53. But the facts
alleged are insufficient to show that Butowsky intended, or affirmatively endorsed, the
implication that Bauman’s job was, as the complaint puts it, to “execute the DNC’s plan to

cover up Seth Rich’s murder.” Icl. at ll 4; see also ial. at ll 129(b) (“assigned and paid by

the DNC to serve as the Rich family spokesperson so that he could obstruct the

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investigation into Seth Rich’s murder”). Accordingly, Butowsky’s statements although
clearly hyperbolic, are not actionable in defamation9
b. Remaining Causes of Action
Bauman also brings claims for defamation per se and false light against Butowsky.
For the reasons stated above, Bauman has not stated a claim for defamation per se, which
occurs when a defendant falsely accuses the plaintiff of committing a crime or other
unlawful act. See, e.g., Gailforcl Transp. Inclus., lnc., 760 A.2d at 600. Additionally,
“[w]hen a false light claim is based upon the same factual allegations as a defamation claim,
the two are analyzed identically.” Parisi v. Sinclair, 845 F.Supp.2d 215, 218 nl (D.D.C.
2012) (citing Bloa’gett v. Univ. Clul), 930 A.2d 210, 223 (D.C. 2007)). Bauman therefore
also has failed to state a false light claim.
CONCLUSION
For the foregoing reasons, Heavin’s Rule 12(b)(2) motion to dismiss for lack of
personal jurisdiction and Butowsky’s l2(b)(6) motion to dismiss for failure to state a claim
are hereby GRANTED, and this case is DISMISSED as to those defendants A separate

order consistent with this decision accompanies this l\/lemorandum Opinion.

 

 

 

9 As Bauman has not met the first element of a defamation claim, l need not address
Butowsky’s argument that Bauman is a limited purpose public figure under the First
Amendment.

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